Case 2:04-cr-20243-SH|\/| Document 77 Filed 04/21/05 Page 1 of 2 Page|D 106

IN THE UNITED sTATES DISTRICT CoURT "“'"

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W.D. OF TN, M[:MPHIS
UNITED STATES OF AMERICA,

Plaintiff,
CR. NO. 04-20243WM&

VS.

TAVARISH WHITE,
RONDA WHITE,

-._.~\-._.-._/~._,-._/-._,-._¢~_._»-._¢-._.¢

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Tbursday, April 21, 2005 at 2:00 p.m.

The period fronl Marcb 25, 2005 through May l3, 2005 is
excludable under 18 U.S.C. § 3161(h}(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT rs so oaDERJ-:D this q'°h` day of April, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet in compliance

with Ruie 55 and/or 32(b) FHCTP 00 M§',_.__ §le/7 -"

DISTRIC COURT -WESTER D"RITICT o TENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

